     Case 2:15-ml-02668-PSG-SK Document 765-2 Filed 12/06/22 Page 1 of 2 Page ID
                                     #:24422



 1
 2
 3
 4
 5
 6                          UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
      IN RE: NATIONAL FOOTBALL                        Case No.: 2:15-ml-02668−PSG (JEMx)
 9    LEAGUE’S “SUNDAY TICKET”
      ANTITRUST LITIGATION
10
11                                                    [PROPOSED] ORDER GRANTING
      THIS DOCUMENT RELATES TO ALL                    PLAINTIFFS’ MOTION TO
12    ACTIONS                                         DISQUALIFY NFL EXPERT DR.
                                                      ALI YURUKOGLU
13
14
15
           This matter is before the Court on Plaintiffs’ Motion to Disqualify NFL Expert Dr.
16
     Ali Yurukoglu. The Court has considered the motion, all other papers filed relating to the
17
     motion, other documents and pleadings filed in this action, and the arguments of counsel.
18
19         IT IS HEREBY ORDERED that:

20         1.     Plaintiffs’ Motion to Disqualify NFL Expert Dr. Ali Yurukoglu is

21   GRANTED.

22         2.     Dr. Ali Yurukoglu is disqualified from proffering expert opinions in this

23   litigation. The previously-filed expert report of Dr. Yurukoglu is therefore stricken. The

24   NFL and its experts are barred from considering or relying on Dr. Yurukoglu, including

25   his work on this case to date, for the remainder of this case.

26         3.     Within 14 days of this order, the NFL shall produce to Plaintiffs all of its

27   communications with Dr. Yurukoglu.

28


                                                  1
     Case 2:15-ml-02668-PSG-SK Document 765-2 Filed 12/06/22 Page 2 of 2 Page ID
                                     #:24423



 1         4.     Within 21 days of the production of the NFL’s communications with Dr.
 2   Yurukoglu, the NFL shall present Dr. Yurukoglu for a deposition. The scope of the
 3   deposition shall be limited to the extent that Dr. Yurukoglu disclosed information from
 4   his consulting role in Laumann v. National Hockey League to the NFL or its counsel in
 5   the present case.
 6
 7                                                 IT IS SO ORDERED.
 8
 9   Dated:
10                                                 PHILIP S. GUTIERREZ
                                                   Chief United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               2
